






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00460-CV






John Rady, Appellant


v.


GMAC Mortgage, LLC f/k/a GMAC Mortgage Corporation, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-11-001431, HONORABLE LORA LIVINGSTON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		Appellant John Rady filed a notice of appeal on July 10, 2012.  On August 23, 2012,
the Clerk of this Court sent notice to Rady that his notice appeared untimely.  The Clerk requested
an explanation in writing of why his appeal should not be dismissed for want of jurisdiction and
notified him that his appeal would be dismissed for want of jurisdiction if he did not respond to this
Court by September 5, 2012.  To date, Rady has not responded to this Court's notice.  We dismiss
the appeal for want of jurisdiction.  See Tex. R. App. P. 42.3(a).


					__________________________________________

					Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Jurisdiction

Filed:   October 10, 2012


